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                                              January 20, 2021

   VIA ECF
   The Honorable Loretta A. Preska
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007

           Re:     Giuffre v. Dershowitz, Case No 19-cv-3377-LAP
                   Protective Order

   Dear Judge Preska:

          We write on behalf of both parties to request a clarification and modification of the Court’s
   Order, dated Jan. 6, 2021 (ECF 233) (“Order”).

          The Order requires the parties to revise the agreed protective order entered in the above-
   captioned action (“Protective Order”) by appending the following language to the definition of
   “Confidential Information”:

           For the avoidance of doubt, for materials produced in or generated as a result of discovery
           in Giuffre v. Maxwell, the parties may only agree to remove confidentiality designations
           for Ms. Giuffre’s personal documents, i.e., those bearing her bates stamp in Maxwell. Even
           where Ms. Giuffre agrees to remove the confidentiality designations for such materials
           produced in Maxwell, the parties shall not publicly disclose or file on the public docket the
           names or identifying information of non-party Does (except for Mr. Dershowitz) in
           materials originally designated confidential in Maxwell and filed in that case either under
           seal or with the non-party Doe’s identifying information redacted (unless such information
           has been unsealed already by the Court in Maxwell).

   The parties request a clarification and modification of the second sentence of the new language.

            First, the parties request a clarification of the term “non-party Does.” Does that term refer
   to all third parties, to third parties bearing certain characteristics (e.g., alleged perpetrators and/or
   victims of sexual assault or trafficking), or to a set of individuals who have been identified as Does
   in Giuffre v. Maxwell, Case No. 15-cv-7433 (LAP)? If there is a list of Does, then the parties (who
   do not currently have unlimited access to sealed material in Maxwell) request that their counsel be
   provided a list on a confidential basis.

           Second, the parties are concerned about their ability to identify documents that have been
   “filed in [Maxwell] under seal or with the non-party Doe’s identifying information redacted.” The
   parties’ counsel do not have access to a complete set of sealed filings in Maxwell, and while they
   do have access to public versions of redacted documents, the large number of filings on the docket
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would make it difficult to confirm that a given document has not been filed in redacted form.
Instead, the parties would propose to redact the names of non-party Does (as clarified above) from
all public filings of Ms. Giuffre’s personal documents bearing her bates stamp in Maxwell that
were designated “confidential” in that action, unless they affirmatively determine that the
document is available publicly in unredacted form. Accordingly, the new language for the
Protective Order would be revised as follows:

       For the avoidance of doubt, for materials produced in or generated as a result of discovery
       in Giuffre v. Maxwell, the parties may only agree to remove confidentiality designations
       for Ms. Giuffre’s personal documents, i.e., those bearing her bates stamp in Maxwell. Even
       where Ms. Giuffre agrees to remove the confidentiality designations for such materials
       produced in Maxwell, the parties shall not publicly disclose or file on the public docket the
       names or identifying information of non-party Does (except for Mr. Dershowitz) in
       materials originally designated confidential in Maxwell and filed in that case either under
       seal or with the non-party Doe’s identifying information redacted (, unless the filing party
       is able to determine that such information has been unsealed already by the Court in
       Maxwell, was otherwise filed publicly in that action, or is otherwise publicly available).

       The parties are grateful for the Court’s guidance in this matter.

                                                  Respectfully,


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